 

1. Cm.xolsT./olv.(€\§'l§e ¢ -
TNW

 

  

 

3. MAG. DKTJDEF. NUMBER 4. DIST. DKT./DEF. NUMBE

2:05-020237-001

5. APPEALS DKT./DEF. NUMBER 6. OTH F.R DKT. NUMBER

 

'r. m CAsn/MATTER or (cmnm¢, s. PAYMENT cameon
U.S. v. Campbell Felony

 

 

9. TYPE PERsoN REPRESENTF.I)
Aduit Defendant

lO. REPRESENTATION TYPE
(See lnstrttctiuns)

Crlminai Case

 

 

ll. OFFENSE(S) CH ARGED (Cite U.S. Code, Tltle & Set:tion)

|i’mure than one oilense, list (up to i'ive) major oftmsel charged, according to severity oi' offense -‘

l) 18 9226. F -~ UNLAWFUL TRANSPORT/POSSESS)'RECE|VE FiREARMS THROUGH INTERSTATE

 

ll. R§'B(l)vlllANliin'qSGNAAé'i'll)l§zE Fslm Name, M.l.. Last Neme, including any sumx)

ROBBINS, MICHAEL
SUITE 1540

40 SOUTH MAIN ST
MEMPHIS TN 38103

     
 
  
 

Telephone Number: (90]) 526'7066
]4. NAME AND MA|LING ADDRESS OF LAW FlRM (uniy provide per inltruclions)

 

 

 

l.'§. COURT ORBER

s \ "
m , -,<), 0 d
Beeause the abo\e-named person represented hal testified under oath or has 4 0
or she (i) is financially unable to employ counsel a@/‘) (,//

otherwise satisfied this court tha

   
  
       
    

 

0 Appointing Counsel /‘
\:i F Subs For Feders| Dei'ender
C| F Subs For Panei Ailorncy

Frior Attorney's Nsme:

E] C Co-Counsel f ,
m R S\.lbi Fur Retained Att;a'lhe
m Y Stlndby Counse| '

 

AppoinlmentDate:

 

d because the interests ot'_|urttce so require. the
12 is appointed to represent this person ln this cue,

   

t lnstru,| 1
'U'oi' Presidin .|udlcis| Ofi'|cer or By Order otthe Court
GR/'Ti/")fii'i€

Date of Order Nunc Pro Tunc Date

Repayment ur part|at repayment ordered i'rom the person represented for this service at
time of appointment m g N()

 

    
   
 

   

   
    
  

      

 

   

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

    
  

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19. CERTlFlCATlON OF ATTORNEY/PAYEE FOR THE PERIOD 0 F SERV]CE
FROM TO

  
 
  
 

CATEGORIES (Attaeh itemization of services with dates) CE£H!RESD 3111?':1;3|)`£11§'5 MATMT% H HR:JEKEE§)H ADRBWEQVNAL
15. a. Arraignment and/or Plea ` `
b. Bail and Dctention Hearings
c. Motlon Hearings
}1 d. Triai
C e. Sentencing Hearings
3 f. Rcvucntion Hearings
§ g. Appesls Court
h. Other (Specify on additional sheets)
(Rate per hour = $ ) 'I‘OTAI.S:
16. a. Interviews and Conferences
g b. Obtaining and reviewing records
0 c. Legal research and brief writing
2 d. Travei time
3 e. luvestigative and Other work (sp¢e\ry on montana armco
§ (Rate per hour = 5 ) TOTA.LS:
17. Travel Expenses (lodging, paricing, meais, mileage. ete.}
18. Other Expenses (other than expert, transcriptt, etc.)

 

 

 

 

 

 

10. APPO[NTMENT TERM]NAT]ON DATE
IF OTHER THAN CASE COMPLETION

ll. CASE DlSPOSl'l`ION

 

 

 

22. CLAlM STATUS m Finsl Payment \:i lnter|m Payment Numher

representation'.' m YES NO li'yes, give details on additional sheelt.
l swear or atiirm the truth or correctness of the above statements

Have you previously applied to the court fo‘ compensation and/or remimhursement i`or tth case‘.'
Other than from the court, have you. or to your knowledge has anyone ell e, received payment [eon\pensat|on or anythingl or value) from any other source ln connection with this

[:|Suppl¢menlal Payment

I:l YES iiyes. were you paid? g YE.S E:\ NO

Date:

 

Siinalure of Attorney:

-».

ll [N COURT COMP. 24. OUT OF COURT COMP.

 

25. TR.AVEL EXPENSES

 

16. OTHEREXPENSES 21. TOTAL AM'|`.APPRICERT

 

28. SIGNATURE OF THE PRES|DING .IUDlClAL OFFICER

DATE 28a JUDGE IMAG. JUDGE CODE

 

29. ]N COURT COMP. 30. OUT OF (.`OURT COMP. Jl.

 

 

TRAVEL EXFENSES

32. OTHER EXPENSES ss. ToT.-\L AMT. AF¥ROVED

 

approved in excess oithe slaiutory threshold amnun .

 

34. SIGNATURE OF CHlEF .IUDGE, COURT O{" APP EALS (OR DELEGATE) Payment

DATE 34a. JUDGE CODE

 

 

 

 

This document entered on the dockets eat in colg|iaoce
with noia 35 ami/or 32(b) rach on g #HQ'O

 

  
     

  
 

UNITED sAsTE DISTRIC COURT - WESERT DISTRICT TENNESSEE

  
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20237 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

